Case 2:20-cr-00224-RGK Document 88-8 Filed 11/30/21 Page 1 of 5 Page ID #:732




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                             Steven F.Gruel
                                  www.gruellaw.com


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                                                                        ♂
315ヽlontgomery Street,9th Floor                              555 West Fifth,31St Floor
San Francisco,California 94104                           Los Angeles,California 90013
Telephone:(415)989‐ 1253                                 Telephone:(213)625‐ 1703
atⅢ StevengrucloSbCgiobttI.not




March 29,2021

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Ruth C,Pinkel
Assistant United States Attomey
1500 United States Courthouse
312 NoHh Spring Street
Los Angeles,Califomia 90012
mth,pinkel@usd筍 .goV


RE: D物 と
       をc'Sttι ?s tt βα                   227‐ R(FF
                       う,々 】rο ″ α刀ら 似 ̲θ θ
      Reply to Govermmentletter dated March 18,2021

Dear Ms.Pinkel:

Thank you for your response to my discovery letter dated March 15,2021,
I appreciate that there will be more discovery forthconling as outhned in your letter,but I
have the following replies,points ofclarincation and rnore specinc requests, Again,
thank you for yolェ r continued assistance in this process.


               ・
   器           亀:粗 且話料難 赫継襦積習■課覇昭鳳鋼.帝聯
   then assume then thatthere are no recordings fbr that event/date?

   Request 3.Please ve五 ,whether he defcnse has the complete OIG■                    le
   regarhng Babak Broumand.
                                                                                              Case 2:20-cr-00224-RGK Document 88-8 Filed 11/30/21 Page 2 of 5 Page ID #:733




   RecJuest 4. I've checked and found mO pole camera videos in PЮ duction 4.

   Requests 6.7.and 8.Thank you for the anticipated materials mentioned in yolェ r
   response.
  Recuest 9.Thank you for the anticipated materials mentioned in your
  rcsponse.

  Reauests 10&11,No rcsponse was pЮ 宙dcd to Rcquest Number 10.I assume that
  that、 vas an oversight and thatthe govemment's response to that Requestis the same
  as the response to Request Number ll,Please clarify if l am mistaken.

Recluest 12. Thank you for the anticipated rnaterials rnentioned in your
 response,


Request 13。 Sorry for the confusion:(a)the defcnse request refcrs to agent Broumand's
request for travelfunding fOr his January 2015 trip to Los Angeles for  source
recruitment"as described in footnote 9 of IItS Agent Silva's search wa∬ ant declaration;
and(b)the reference to a search warrant application and Bates Number l1050 seems to
be a typo.



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                       惚 歓
                  nL協        hn
饂鴛鍔幽協肌緞蘇冒解:愁 織銑齢 守     き
                       把 ∫
                         ぞ絆
                      鶏 与 'ii                                                     I塁
                 二         °                                                                  f
蘇乳辞犠撒計認招:酬 靴:耀 魂瀧:器丑孔餓鴛細
occured should be easily ascertained by the case agent.

Request 17.No govemmentresponse was given to his request.

R▲ D Request 2:While he govemment provided the years 2013‑2016,it did not
provide the report for year 2017.The defense requests the follttД     for 2017.

R▲D Request 4&5:The requested materials are relevant to the time alleged in the
indictrnent and any futther disclosure at this tilne will inappropriately involve detailing
the defense trial strategy.


RAD RequeSt 6:No consentto search is g市 en by Mr.Broumand and counsel.The
defense requests that this ite■ lbe remmed.


        Request for Additional Discoverv

    51.Please provide copy ofthe FBI's rei:nbursements for Mr.Broumand's undercover
                                                                                                  Case 2:20-cr-00224-RGK Document 88-8 Filed 11/30/21 Page 3 of 5 Page ID #:734




        (UC)eXpenses during he period 1/1/2012‑12/5/2018;

   52.Please pЮ vide all intel■ al Los Angeles FBI email(red Side)correSpondcnces by
       FBI employee Stephen Kusin of and conccming,and pertaining to Wrr.BrOumand
        during the period 1/1/2014‑― present;


                                                2
53.Please provide all intemal Los Angeles FBI email(green side)coFeSpOndences
   by FBI employee Stephen】くusin of and concelning,and pertaining to Mr.
      Broumand during the period 1/1/2014‑presenti

54,Please provide an intemal Los Angeles FBI instant messaging(IM)
      corespondences by FBI employee Stephen Kusin ofand conceming,and
      pertaining to Mr.Broumand during the period 1/1/2014‑present;

55,Please provide an hand、 vritten notes by FBI employee Stephen Kusin of and
    conceming,and pertaining to Ⅳfr.Broumand、 during the period 1/1/2014‑
      present;


56.Please pЮ vide an intemal Los Angetes FBI email(red Side)coFeSPOndences by
    FBI employee lVIichael Torbic of and conceming,and pertaining to Mr.
      Broumand during the period 1/1/2014‑present;

57.Please pЮ 宙de all Los Angeles FBI emait(green side)correspondences by FBI
      employee lVIichael Torbic Ofand conceming,and pertaining to Mr.Broumand
      during the period 1/1/2014‑present;

58。   Please pЮvide allintemal Los Angeles FBIinstant messaging(コ     M)
      correspondences by FBI employee"fichael Torbic of and conceming,and
      pertaining tO Mr.Broumand during the period 1/1/2014‑present;

59,Pleasc provide all hand written notes by FBI employee lV【   ichael Torbic of and
      conceming,and pertaining to Mr.Broumand during the period 1/1/2014‑
      present;


60。   Please pЮ vide allintemal Los Angeles FBI email(red Side)coreSpondences by
      FBI employee Brian Adkins ofand conceming,and pertaining to Mr.Broumand
      during the period 1/1/2014‑present;

61,Please pЮ 宙de all Los Angeles FBI email(green side)corespondences by FBI
   employee]Brian Adkins ofand concemingク and pertaining to Wlr.Broumand
      during the period 1/1/2014‑present;

62.Please pЮ 宙de allintemal Los Angeles FBIinstant mcssaging(IM)
   correspondences by FBI employee Brian Adkins ofand conceming,and
   peHaining to Mr.Broumand during the period 1/1/2014‑present;
                                                                                      Case 2:20-cr-00224-RGK Document 88-8 Filed 11/30/21 Page 4 of 5 Page ID #:735




63,Please provide all hand written notes by FBI employee Brian Adkins ofand
      conceming,and pertaining to Mr.Broumand dunng the period 1/1/2014‑
      present;




                                            3
Case 2:20-cr-00224-RGK Document 88-8 Filed 11/30/21 Page 5 of 5 Page ID #:736




        64,Please pЮ Ⅵde allintemal Los Angeles副〕Ieコ mil(red Side)correSpondences by
            H〕 I employee Joe Rock ofand concem地 ,and pertaining to Mr.BЮ umand
            duing the period 1/1/2014‑presenti

        65.Please pЮ 宙de all Los Angeles FBI em菰 1(greem side)coreSPOndences by FBI
            employee Joe Rock ofand conce■ ling,and pertattling tO Mr.Broumand duing
            the period 1/1/2014‑present;

        66.Piease provide allintemal Los Angeles FBI insttntmessagittxIM)
           corespondences by FBI employ∝ Joe Rock ofand concerningっ and pertaidng n
           Mr.BrouHland duing the pettod 1/1/2014‑present;

        67,Please pЮvide Лl hand、面 tten dotes by FBI employee Joe Rock ofand
           conceming)and peHainitt to Mr・ BЮ ummddu正 ng he pe重 od 1/1/2014‑present.

    Sincerely少



    ヨ″切タ タ泌
    Steven F.Gmel
    Attmey For Bお ak BЮ umand




    cc.Babak BЮ imand




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